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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

------------------------------------------------------x
In re:                                                :
                                                      :    Chapter 11
          PES HOLDINGS, LLC,                          :
                                                      :    Bankruptcy No. 19-11626 (KG)
                                    Debtor.           :
------------------------------------------------------x

     ENTRY OF APPEARANCE OF THE DISTRICT OF DELAWARE COMBINED
                 WITH DEMAND FOR SERVICE OF PAPERS

TO THE CLERK OF THE BANKRUPTCY COURT:

          Kindly enter the appearance of MEGAN N. HARPER, Esquire as counsel of record for

creditor The City of Philadelphia and/or the Water Revenue Department in the above captioned

matter.

          PLEASE TAKE NOTICE that the City of Philadelphia, (the “City”), a creditor and party-

in-interest in the above-captioned case, hereby appears in the above-captioned case by its counsel,

Megan N. Harper, Deputy City Solicitor; such counsel hereby enters their appearance pursuant to

Title 11 of the United States Code, 11 U.S.C. § 101 et seq. (the “Bankruptcy Code”) and Fed. R.

Bankr. P. 9010 (b), and such counsel hereby requests, pursuant to Fed. R. Bankr. P. 2002, 3017,

9007 and § 342 of the Bankruptcy Code, that copies of all notices and pleadings given or filed in

the captioned case and served upon the City and to the attorney at the address and telephone

number set forth below.

          This Notice of Appearance and Demand for Notices and Papers shall not be deemed or

construed to be a waiver of Creditor’s rights: (1) to have final orders in noncore matters entered

only after de novo review by a District Judge; (2) to trial by jury in any proceeding so triable in

this case or any case, controversy, or proceeding related to this case; (3) to have the District Court
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withdraw the reference in any matter subject to mandatory or discretionary withdrawal, or (4) any

other rights, claims, actions, setoffs, or recoupments to which Creditor is or may be entitled, in law

or equity, all of which rights, claims, actions, defenses, setoffs and recoupments Creditor expressly

reserves.

                                               Respectfully submitted,

                                               THE CITY OF PHILADELPHIA

Dated: July 22, 2019                           By:     /s/ Megan N. Harper
                                               MEGAN N. HARPER
                                               Deputy City Solicitor
                                               PA Attorney I.D. 81669
                                               Attorney for the City of Philadelphia
                                               City of Philadelphia Law Department
                                               Municipal Services Building
                                               1401 JFK Boulevard, 5th Floor
                                               Philadelphia, PA 19102-1595
                                               215-686-0503 (phone)
                                               Email: Megan.Harper@phila.gov
